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                         UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

EREK SLATER,                                 )
                                             )
                      PLAINTIFF,             )
                                             )              1:20-cv-3356
               v.                            )
                                             )
CHICAGO TRANSIT AUTHORITY,                   )
a Municipal Corporation,                     )
                                             )
                      DEFENDANT.             )

                                         COMPLAINT

       1.      Plaintiff Erek Slater (“Plaintiff Slater”), is a bus operator employed by the

Defendant Chicago Transit Authority (“Defendant CTA”), and Executive Board Member of the

Amalgamated Transit Union Local 241 (“ATU Local 241”), the certified labor organization

representing bus operators for the Defendant CTA. Plaintiff Slater brings this Complaint pursuant

to 42 U.S.C. § 1983 to enforce his rights to freedom of speech and freedom of association under

the First Amendment of the United States Constitution as those rights are incorporated by the

Fourteenth Amendment. Plaintiff Slater alleges that the Defendant CTA is violating his First

Amendment rights under color of state law by prohibiting him from discussing the safety, political

and moral concerns held by himself and other bus operators related to the dangerous duties of

transporting police to protests and transporting arrested demonstrators away from communities

where many of these drivers live and discussing whether bus operators have the right to refuse said

duties. Plaintiff Slater seeks preliminary and permanent injunctive relief against Defendant CTA’s

prohibition of said discussions and Defendant CTA’s retaliation against him for participating in

said discussions.




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                                               PARTIES

        2.      Plaintiff Slater is a resident of the City of Chicago, Illinois, and is employed as a

bus operator by the Defendant CTA and is an Executive Board Member of ATU Local 241, the

certified Illinois labor organization representing the bus operators employed by the Defendant

CTA.

        3.      The Chicago Transit Authority is a body politic and municipal corporation with its

principal office in the City of Chicago. See 70 ILCS 3605/3 & 5.

                                 JURISDICTION AND VENUE

        4.      This Court has jurisdiction over this action pursuant to 28 U.S.C. § 1331 because it

arises under the Constitution and laws of the United States, namely the First Amendment,

Fourteenth Amendment, and 42 U.S.C. § 1983.

        5.      Venue is proper in the Northern District of Illinois under 28 U.S.C. § 1391 because

the Defendant is located in this district and all the events and omissions giving rise to the claims

occurred in this district.

                                              FACTS

        6.      This is an unprecedented time for the bus operators of the Defendant CTA. Bus

operators employed by the Defendant CTA are being ordered to transport packed buses of law

enforcement, where social distancing is impossible, during a world-wide pandemic and are

potentially exposing themselves, their families and their loved ones to deadly disease.

        7.      Not only are these bus operators being asked to endanger themselves and their

families from COVID-19 exposure, they are also being asked to place themselves in the middle of

conflict zones with potentially violent protestors, law enforcement and military personnel.




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           8.    Many bus operators, like millions of citizens across the country, also hold sincere

political and moral convictions regarding the use of police force against demonstrating civilians.

           9.    Many bus operators have legitimate political and moral concerns regarding the

heavily armed law enforcement and military response to the recent demonstrations against police

brutality in Chicago and about being ordered to participate in these law enforcement actions

through transporting law enforcement and military personnel to and from demonstrations. Bus

operators sought and obtained civilian employment with the Defendant CTA, not conscription into

military service to quell domestic demonstrations against police brutality.

           10.   Across the country, public bus operators affiliated with ATU locals have expressed

disagreement with orders to transport demonstrators against police brutality who are arrested under

questionable color of law and orders to transport law enforcement who may be effectuating said

arrests.

           11.   In addition to those with political and secular concerns with becoming part of the

law enforcement response to police brutality demonstrations, some bus operators are opposed to

conscription into law enforcement and military operations in the City of Chicago on firmly held

and sincere religious beliefs and moral pacifism.

           12.   Bus operators recognize the obvious – that being ordered to intervene in areas of

conflict between law enforcement and police brutality demonstrators through transporting law

enforcement and arrested demonstrators during a global pandemic, poses a danger to themselves

and their families, and these bus operators, including Plaintiff Slater, are reasonably discussing

exactly what risks are posed by these orders and what their rights are relative to these risks.

           13.   Plaintiff Slater wishes to participate in off-duty discussions with his fellow bus

operators regarding their safety, political and moral concerns related to orders to transport law



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enforcement and military personnel to protests and potential orders to transport arrested

demonstrators away from communities where many of these drivers live and whether bus operators

have the legal right to refuse said duties.

       14.     Plaintiff Slater wishes to hold these discussions during non-working time, in

customary non-work areas at the Defendant’s North Park Bus Garage located at 3112 W Foster

Ave, Chicago, IL 60625, such as the Transportation Building breakroom and outdoor area with

picnic tables between the parking lot and the Transportation Building.

       15.     Plaintiff Slater especially wants to discuss these concerns with fellow bus operators

at the Defendant CTA’s North Park Bus Garage because that is where the bus operators are already

speaking to each other about their safety concerns, rights and working conditions and because the

Mass Membership Meetings of ATU Local 241 and access to ATU Local 241 facilities have been

restricted due to the COVID-19 pandemic.

       16.     Defendant CTA regularly permits its bus operators, including Plaintiff Slater, to

engage in discussions and distribute material related to union and non-union matters when off-

duty in non-work areas that do not disrupt the service of Defendant CTA, such as the

Transportation Building breakroom and outdoor area with picnic tables between the parking lot

and Transportation Building at the Defendant CTA’s North Park Bus Garage.

       17.     Defendant CTA also permits the elected union officials of ATU Local 241,

including Plaintiff Slater, to be on the premises of the Defendant CTA’s North Park Bus Garage

outside of their hours of duty as bus operators for discussion of union business with fellow ATU

Local 241 represented bus operators.




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  On May 31, 2020 Defendant CTA Disrupted and Prohibited Disfavored Discussions of
  Concerns Regarding Orders to Transport Law Enforcement to Demonstrations by Bus
               Operators at Defendant CTA’s North Park Bus Garage

       18.     On May 31, 2020, at approximately 10:00 a.m,, Plaintiff Slater attempted to hold a

off-duty discussion with approximately 20-25 off-duty bus operators at the outdoor picnic table

area between the parking lot and the Transportation Building at the Defendant CTA’s North Park

Bus Garage. The off-duty bus operators were to discuss their concerns and rights relative to orders

to transport law enforcement to conflict areas with police brutality demonstrators and potential

orders to transport arrested demonstrators.

       19.     At said time and place, Plaintiff Slater and his fellow bus operators were

approached by Defendant CTA’s Senior Manager for the North Park Bus Garage, Jeffery Smith

(“Sr. Manager Smith”).

       20.     At said time and place, Sr. Manager Smith called Plaintiff Slater an “idiot”,

declared that the meeting was “illegal” and in violation of Defendant CTA’s work rule prohibiting

“wildcat strikes” and ordered the meeting dispersed.

       21.     Sr. Manager Smith then ordered Plaintiff Slater off the property of the Defendant

CTA’s North Park Bus Garage, threatened Plaintiff Slater to discharge Plaintiff Slater for violating

the prohibition on “wildcat strikes” and threatened to call the Chicago Police Department to

forcibly remove Plaintiff Slater from the property of the Defendant CTA’s North Park Bus Garage.

       22.     Plaintiff Slater complied with the order and left the property and the informal

gathering of off-duty bus operators dispersed.




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 On June 1, 2020 Defendant CTA Again Disrupted and Prohibited Disfavored Discussions
 of Concerns Regarding Orders to Transport Law Enforcement to Demonstrations by Bus
                 Operators at Defendant CTA’s North Park Bus Garage

        23.      On June 1, 2020, at approximately 1:00 p.m., Plaintiff Slater attempted to hold

another informal discussion with approximately 8 off-duty bus operators in the breakroom of the

Transportation Building of the Defendant CTA’s North Park Bus Garage regarding the concerns

and rights of bus operators relative to orders to transport law enforcement to conflict areas with

police brutality demonstrators and the transportation of arrested demonstrators.

        24.      At said time and place, Sr. Manager Smith confronted Plaintiff Slater, and ordered

him to end the discussion on the basis it was a prohibited “wildcat strike”. Sr. Manager Smith then

left the area.

        25.      A few minutes later, Plaintiff Slater attempted to restart the conversation with

approximately 5 off-duty bus operators in the same breakroom area inside the Transportation

Building of the Defendant CTA’s North Park Bus Garage.

        26.      At said time and place, Sr. Manager Smith again confronted Plaintiff Slater and

again ordered him to end the attempted discussion on the basis that it was a prohibited “wildcat

strike” and threatened Plaintiff Slater again with forcible removal from the property if he

continued. Plaintiff Slater complied.

        27.      Defendant CTA prohibits “wildcat strikes” through Rule 14(b) of the General Rule

Book, applicable to all employees of Defendant CTA, including Plaintiff Slater, which states as

follows:

        Rule 14. Personal Conduct – The following acts are not permissible

        (b) Leading fellow employees into a wildcat strike, work slowdowns, or other
        impermissible job action, attempting to cause such a job action, or participating in such a
        job action.



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       Exhibit 1, CTA General Rule Book.

 On June 5, 2020, Defendant CTA Issued a Behavioral Violation to Plaintiff Slater for the
 May 31, 2020 Discussion and Called the Chicago Police Department to Remove Plaintiff
   Slater from the Defendant CTA’s North Park Bus Garage in Retaliation for Plaintiff
Slater’s First Amendment Activity and to Chill the First Amendment Activity of his Fellow
                                    Bus Operators

       28.      On June 5, 2020, at approximately 5:45 a.m., Plaintiff Slater reported to the

Transportation Building at the Defendant CTA’s North Park Bus Garage to drive his scheduled

bus route.

       29.      When Plaintiff Slater attempted to scan in to begin his shift operating a bus for

Defendant CTA, the computer informed him to see the manager.

       30.      Plaintiff Slater then went to the management office in the Transportation Building

at the Defendant CTA’s North Park Bus Garage and met with the manager on-duty, Defendant

CTA’s Transportation Manager, Tony Wojewocki (“Transportation Manager Wojewocki”), who

formerly worked as a police officer.

       31.      Transportation Manager Wojewocki verbally informed Plaintiff Slater he was taken

out of service due to promoting a “work stoppage” and issued an “interview record” (Exhibit 2,

June 5, 2020 “Interview Record” regarding May 31, 2020 behavioral violation) to Plaintiff Slater,

alleging a behavioral violation for May 31, 2020, with citations to the following rule violations:

             a. General System Rule 14(d): “Insubordination” (Exhibit 1, CTA General Rule

                Book);

             b. General System Rule 14(e): “Conducting unbecoming of an employee” (Exhibit 1);

             c. General System Rule 14(x): “Disrespect to supervisory personnel, co-workers, or

                the public” (Exhibit 1);




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              d. System Rule B1: “General Information” (Exhibit 3, “CTA Bus System Rule

                 Book”); and

              e. System Rule B2.6: “Prohibited Activities” (Exhibit 3).

        32.      Plaintiff Slater reviewed the “interview record” and asked Transportation

Wojewocki to clarify the conduct that violated the rules cited by the “interview record” and

incorporate this clarification in the written “interview record”.

        33.      Transportation Manager Wojewocki refused, informed Plaintiff Slater that a

hearing on the alleged behavioral violation was scheduled for Thursday, June 11, 2020, at 9:00

a.m. and ordered Plaintiff Slater to sign the “interview record.”

        34.      Plaintiff Slater signed the “interview record” under protest, obtained a copy and

proceeded to the breakroom at the Defendant CTA’s North Park Bus Garage.

        35.      Plaintiff Slater in his capacity of an elected Executive Board Member of ATU Local

241 then began in the Transportation Building breakroom discussing with bus operators his being

taken out of service and disciplined for exercising his First Amendment rights and regarding the

Defendant CTA’s disruption of discussions regarding bus operator concerns with orders to

transport police to demonstrations on the pretext that these discussions constituted “wildcat strike”

activity.

        36.      Transportation Manager Wojewocki then entered the breakroom and ordered the

discussion ended and ordered Plaintiff Slater to leave the premises of Defendant CTA’s North Park

Bus Garage.

        37.      Shortly after, Chicago Police Department officers arrived, and Plaintiff Slater

complied with the order to leave the premises.

Defendant CTA’s Actions Follow Established Pattern of Illegal Suppression of Disfavored
                 Speech on the Pretext of “Wildcat Strike” Activity


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          38.   Defendant CTA’s actions at issue are part of a consistent pattern and practice of

abuse and infringement of Plaintiff Slater’s freedom of speech by Defendant CTA.

          39.   On June 10, 2015, Defendant CTA’s then Senior Manager Jairo Naranjo (“Sr.

Manager Naranjo”) illegally disrupted Plaintiff Slater’s attempt to hold discussions of a similar

nature with off-duty bus operators in the same Transportation Building breakroom at the Defendant

CTA’s North Park Bus Garage regarding solidarity with the Chicago Teachers Union. Exhibit 4,

Erek Slater v. CTA, 34 PERI ¶ 160 (IL LRB-LP 2018) (RDO at pp. 33, 44). Using an identical

unlawful pretext, Sr. Manager Naranjo called Plaintiff Slater’s speech “wildcat strike” activity in

violation of Rule 14(b) and prohibited him from discussing the anticipated Chicago Teachers

Union strike on the property of Defendant CTA’s North Park Bus Garage. Id. This prohibition

was held by the Illinois Labor Relations Board – Local Panel to violate Plaintiff Slater’s rights

pursuant to Section 10(a)(1) of the Illinois Public Labor Relations Act, 5 ILCS 315/10(a)(1). Id.

at 44.

          40.   Following this illegal disruption of Plaintiff Slater’s speech, Defendant CTA then

violated its collective bargaining agreement and terminated Plaintiff Slater for his protected union

activity. Exhibit 5, Slater/ATU Local 241 v. CTA (Proposed Arbitration Award, 2017) at pg. 32.

Plaintiff Slater was subsequently reinstated with backpay following successful arbitration of his

termination. Id.

  Future Demonstrations and Future First Amendment Infringements by the Defendant
 CTA Are Foreseeable as the Concurrent Crises Facing Our County Will Continue After
                      the Immediate Demonstrations Conclude

          41.   The unprecedented economic recession, the COVID-19 pandemic and decades of

accumulated social frustration at disparities in the criminal justice system, in economic




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opportunity, in housing, in education, in access to healthcare etc., will outlast the current round of

demonstrations.

       42.     As the underlying conditions will persist for future demonstrations, there remains

an on-going, foreseeable risk that the Defendant CTA will continue to order bus operators to

transport police to demonstrations and will continue to infringe on disfavor speech by bus

operators discussing concerns about these orders.

       43.     Therefore, even after the current round of demonstrations end, the Defendant

CTA’s prohibition of bus operator speech, justified on the conflation of protected discussion of

legitimate concerns and rights about dangerous orders with prohibited “wildcat strike” activity will

not be rendered moot, but will remain an active point of contention and a fundamental question of

the application of the First Amendment rights of bus operators like Plaintiff Slater, and the actions

of the Defendant CTA ripe for redress by this Court.

                                            COUNT I
                                        42 U.S.C. § 1983
                        Violation of First and Fourteenth Amendments

       44.     Plaintiff Slater re-alleges and incorporates by reference all preceding Paragraphs of

this Complaint herein this Paragraph.

       45.     Defendant CTA has previously opened the breakroom inside the Transportation

Building at Defendant CTA’s North Park Bus Garage and the outdoor picnic table area between

the parking lot and Transportation Building as forums for speech, including the distribution of

materials, by Plaintiffs’ members regarding union business and politics, their mutual benefit, and

the terms and conditions of their employment by CTA.




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       46.     Defendant CTA has previously permitted elected union representatives, including

Plaintiff Slater, on the premises of Defendant CTA’s North Park Bus Garage when not in service

as bus operators to conduct union business, including discussion with fellow bus operators.

       47.     By prohibiting Plaintiff Slater from discussing bus operator concerns and rights

related to the transportation of law enforcement and arrested demonstrators, even during non-

working time in non-work areas and in a manner that does not interfere with CTA’s work or

passengers, the CTA has imposed an unreasonable content-based restriction on Plaintiff Slater’s

speech, in violation of Plaintiff Slater’s rights under the First Amendment as it is incorporated by

the Fourteenth Amendment to apply to the State of Illinois and its instrumentalities.


       48.     Defendant CTA has explicitly imposed this prohibition as a matter of policy

through its Sr. Manager Jeffery Smith, through the Transportation Manager Wojewocki’s

conversation with Plaintiff Slater, and through the behavioral violation issued to Plaintiff Slater

for the May 31, 2020 discussion.


       49.     On June 5, 2020, Defendant CTA directly retaliated against Plaintiff Slater by

removing him from service, issuing the behavioral violation detailed in the “interview record” to

be heard on June 11, 2020, at 9:00 a.m. and by have the Chicago Police Department remove him

from the premises.


       50.     CTA has done so under color of state law.

       51.     Defendant CTA’s prohibition on the rights of bus operators to discuss their safety,

moral and political concerns regarding orders to transport police demonstrations while off-duty in

non-work areas of the Defendant CTA’s North Park Bus Garage and discipline of Plaintiff Slater




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for engaging in said conduct on May 31, 2020, are the types and kinds of actions that would chill

and discourage First Amendment expression of reasonable bus operators.

       52.    By singling out and prohibited disfavored bus operator speech raising concerns

about assignments to transport law enforcement personnel and arrested demonstrators during

demonstrations, and by disciplining and calling the police on Plaintiff Slater to further this

prohibition, the Defendant CTA has engaged in an unreasonable and unconstitutional viewpoint-

based restriction on Plaintiff Slater’s First Amendment speech and infringes on the First

Amendment rights of all bus operators.

       WHEREFORE, Plaintiff Erek Slater respectfully prays that the Court:


   A. Enter judgment in favor of Plaintiff Erek Slater and against Defendant CTA;


   B. Preliminary and permanently order Defendant CTA to immediately rescind the behavioral

       violation issued to Plaintiff Slater for the May 31, 2020 discussion and order Defendant

       CTA to immediately reinstate Plaintiff Erek Slater into active service;


   C. Preliminarily and permanently enjoin Defendant CTA from disciplining or otherwise

       retaliating against Plaintiff Erek Slater for off-duty discussions with other off-duty bus

       operators regarding their concerns and rights related to the transportation of law

       enforcement and military personnel and arrested demonstrators in the breakroom of the

       Transportation Building, the outdoor picnic table area between the Transportation Building

       and the parking lot, and other non-work areas at Defendant CTA’s North Park Bus Garage

       that do not cause disruption to Defendant CTA service;


   D. Declare that Plaintiff Erek Slater and his fellow bus operators may have off-duty

       discussions regarding their concerns and rights related to the transportation of law


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     enforcement and military personnel and arrested demonstrators in the breakroom of the

     Transportation Building, the outdoor picnic table area between the Transportation Building

     and the parking lot, and other non-work areas at Defendant CTA’s North Park Bus Garage

     that do not cause disruption to Defendant CTA service


  E. Preliminarily and permanently enjoin Defendant CTA from prohibiting Plaintiff Erek

     Slater and his fellow bus operators from holding off-duty discussions regarding their

     concerns and rights related to the transportation of law enforcement and military personnel

     and arrested demonstrators in the breakroom of the Transportation Building, the outdoor

     picnic table area between the Transportation Building and the parking lot, and other non-

     work areas at Defendant CTA’s North Park Bus Garage that do not cause disruption to

     Defendant CTA service;


  F. Grant Plaintiff Erek Slater’s attorney’s fees and costs; and


  G. Whatever other relief this Court deems necessary and just.


                                           Respectfully submitted,

                                           By: __/s/ Nicholas Kreitman, Esq.
                                                  Nicholas Kreitman, Esq.
                                                  Plaintiff’s Attorney

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